Case 4:20-cv-00519-A Document 4-1 Filed 05/22/20 Page1lofi1 PagelD 22

 

U.S. DISTRICT
NORTHERN DISTRICT} OF texas

 

 

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

 

 

APR 30 2020
IN RE: STANDING ORDER .
CONCERNING PAPER FILING IN CLE S. DISTRICT C URT
CASES ASSIGNED TO U.S. By
DISTRICT JUDGE JOHN McBRYDE my

 

CONTINUATION OF PARTIAL SUSPENSION
OF STANDING ORDER

 

The undersigned DIRECTS that:

1. The directive in paragraph 1 of the undersigned's
standing order signed January 15, 2019, requiring that no
document be filed by electronic means be, and is hereby,
suspended until June 8, 2020. And,

2. The directive of paragraph 2 of the undersigned's
standing order that paper copies of electronically-filed

documents be delivered to the clerk for filing be, and is

Ll,

OHN McBRYDE
Unites States Dis Lact Judge

hereby, suspended until June 8, 2020.

SIGNED April 30, 2020.

    
 

 
